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                             UNITED STATES DISTRICT COURT
                         DISTRICT OF THE DISTRICT OF COLUMBIA


 MONTE A. ROSE, JR., et al.,                       )
                                                   )
                 Plaintiffs,                       )
                                                   )
         v.                                        )
                                                   )   No. 1:19-cv-02848-JEB
 XAVIER BECERRA, et al.,                           )
                                                   )
                 Defendants.                       )



     ORDER GRANTING MOTION FOR STAY IN PART AND GRANTING JOINT
                    REQUEST FOR A LIMITED STAY

        Upon consideration of Indiana Family and Social Services Administration’s motion for a

stay pending appeal, Dkt. 73, the parties’ joint request for a limited stay in their joint status report,

Dkt. 81, and the representations of the Indiana Family and Social Services Administration and the

Centers for Medicare & Medicaid Services set forth therein, the Court GRANTS a limited stay.

        The Court STAYS the effect of its opinion (Dkt. 68) and order (Dkt. 67) vacating the

Healthy Indiana Plan (HIP) 2.0 Demonstration Project, except for those portions related to

payment or non-payment of POWER account contributions, pending resolution of the appeal,

issuance of the mandate, and disposition of any timely filed petition for certiorari.

        Any party may seek relief from this limited stay for good cause shown.



        DATED: August 20, 2024                          ___________________________________
                                                        HON. JAMES E. BOASBERG
